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                                        ID #:52688



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13                     UNITED STATES DISTRICT COURT
14                FOR THE CENTRAL DISTRICT OF CALIFORNIA

15    JENNY LISETTE FLORES; et al.,  ) Case No. CV 85-4544
                                     )
16            Plaintiffs,            ) DEFENDANTS’ NOTICE OF
                                     ) MOTION TO TERMINATE
17                 v.                ) SETTLEMENT AGREEMENT AND
                                     ) TO DISSOLVE INJUNCTION OF
18    PAMELA BONDI, Attorney General ) AGENCY REGULATIONS;
19    of the United States, et al.,  ) MEMORANDUM OF POINTS AND
                                     ) AUTHORITIES
20            Defendants.            )
                                     ) Fed. R. Civ. P. 60(b)(4), (5) & (6)
21                                   ) Hearing Date: July 18, 2025, 9:30 AM
                                     ) Place: Courtroom 8C, First Street
22                                   ) Courthouse
23                                   ) Honorable Dolly M. Gee, District Juge
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1                                   NOTICE OF MOTION
2           NOTICE IS HEREBY GIVEN that the U.S. Department of Justice (DOJ), the

3     U.S. Department of Homeland Security (DHS), and the U.S. Department of Health

4     and Human Services (HHS), by and through undersigned counsel, will bring this

5     motion for hearing on July 18, 2025, at 9:30 a.m. or as soon thereafter as counsel

6     may be heard, before United States Chief District Judge Dolly M. Gee, in Courtroom

7     8C, 8th Floor, at the Los Angeles – 1st Street courthouse located within the Central

8     District of California.

9                        COMPLIANCE WITH LOCAL RULE 7-3

10          This motion is made following a telephonic meeting of counsel pursuant to

11    L.R. 7-3, and paragraph 37 of the Flores Settlement Agreement (FSA), which took

12    place on May 13, 2025, and subsequent written correspondence. Plaintiffs oppose

13    this motion. The parties agreed to a filing date of May 22, 2025, opposition on June

14    20, 2025, reply on July 3, 2025, and hearing on July 18, 2025.

15    MOTION TO TERMINATE SETTLEMENT AGREEMENT; MOTION TO

16              DISSOLVE INJUNCTION OF AGENCY REGULATIONS

17          Defendants move to terminate the FSA under paragraph 40 of the FSA and

18    Federal Rule of Civil Procedure 60(b)(4), (b)(5), and (b)(6). In light of the significant

19    changes in circumstances since this Court entered the FSA 28 years ago, including

20    the promulgation of regulations incorporating the goals of the FSA, and Supreme

21    Court precedent that is inconsistent with continuing such a long-term decree, further

22    continuation of the FSA is no longer equitable or in the public interest. The decree

23    is also directly contrary to 8 U.S.C. § 1252(f)(1), as well as the Supreme Court’s
                                                 2
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1     decision in Garland v. Aleman Gonzalez, 596 U.S. 543 (2022). Pursuant to Federal
2     Rule of Civil Procedure 60(b)(4), (b)(5) and (b)(6), Defendants thus move to

3     dissolve the FSA.

4           This motion is based upon the above Notice, the accompanying Memorandum

5     of Points and Authorities, all pleadings and papers on file in this action, and such

6     other matters as may be presented to this court at the time of the hearing on the

7     motion. Pursuant to Local Rule 7-15, Defendants do not waive oral argument.

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1      DATED: May 22, 2025             Respectfully submitted,

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1                  MEMORANDUM OF POINTS AND AUTHORITIES
2           Defendants, in their official capacities, move to terminate the FSA completely

3     and with respect to all Defendants, and to dissolve the Court’s injunction of DHS’s

4     regulations for apprehension, processing, care, and custody of alien minors, ECF

5     No. 690, as follows.

6                                      INTRODUCTION

7           After 40 years of litigation and 28 years of judicial control over a critical

8     element of U.S. immigration policy by one district court located more than 100 miles

9     from any international border, it is time for this case to end.

10          Courts issuing injunctive relief in institutional-reform cases have a duty “to

11    ensure that ‘responsibility for discharging the [government’s] obligations is returned

12    promptly to the State and its officials’ when the circumstances warrant.” Horne v.

13    Flores, 557 U.S. 433, 450 (2009) (citation omitted). “[T]he longer an injunction or

14    consent decree stays in place, the greater the risk that it will improperly interfere

15    with [government’s] democratic processes.” Id. at 453. Indeed, prolonged

16    enforcement of consent decrees “may ‘improperly deprive future officials of their

17    designated legislative and executive powers.’” Id. at 450 (citation omitted). The

18    Supreme Court has thus admonished lower courts considering Rule 60 motions

19    simply to ascertain whether ongoing enforcement of the original order “[i]s

20    supported by an ongoing violation of federal law” and not to focus on compliance

21    with “the original order.” Id. at 453-54.

22          These principles apply with even greater force to the federal government,

23    especially to its enforcement of immigration laws: the Judiciary must not intrude
                                                  1
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1     into the Executive’s core foreign relations functions with indefinite oversight and
2     micromanagement. Harisiades v. Shaughnessy, 342 U.S. 580, 588–89 (1952).

3           This case exemplifies the harms imposed by ongoing judicial management of

4     Executive agencies. This Court entered the FSA as a consent decree in 1997 and

5     amended it in December 2001. The FSA has governed the care and custody of

6     unaccompanied alien children (UACs) ever since, notwithstanding intervening

7     legislation by the U.S. Congress and agency regulations. In 2015, this Court

8     expanded the FSA to accompanied children, see Flores v. Lynch, 828 F.3d 898, 906,

9     909 (9th Cir. 2016), even though it is obvious from the FSA’s terms that the parties

10    did not contemplate their inclusion. Thus, as to accompanied children, the national

11    policy has long been set by a district court (and not the President or Congress),

12    notwithstanding that the consent decree providing the basis for district-court

13    supervision does not claim to regulate this class of aliens. That simply cannot be.

14          During the 28 years that this Court has controlled federal policy regarding the

15    custody of alien children who are in the United States without immigration status,

16    enormous, cardinal changes have occurred: surges of aliens have entered the U.S. in

17    between ports of entry across the southwest border, including large groups of aliens

18    who voluntarily surrendered to Border Patrol—surrenders orchestrated by

19    traffickers; the demographics of aliens arriving at the border have shifted to include

20    significantly higher numbers from countries outside the Western Hemisphere and

21    higher numbers of children; a global pandemic necessitated the government’s

22    utilization of its expulsion authority to protect public health; and the subsequent

23    lifting of the policy led to an upheaval in immigration policy for over two years.
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1     Moreover, the conditions for UACs—the original plaintiffs in this case—have
2     substantially improved from those that precipitated this suit four decades ago. The

3     parties reasonably could not have foreseen such developments, let alone the

4     cumulative effect of such developments, in 1997.

5           The Executive has not been able to react fully and meaningfully to these

6     changes because the FSA has ossified federal-immigration policy. Successive

7     Administrations have tried unsuccessfully to free themselves from the strictures of

8     the consent decree and this Court’s gloss on it. But detention of juvenile aliens

9     continues to be—as it has been for more than a generation—dominated by the

10    strictures of a 1997 agreement. This Court is obliged under Horne and other

11    precedents to end this intrusive regime.

12          The legal and policy landscape has also changed beyond recognition.

13    Plaintiffs claimed, in 1985, that the government’s alleged policy or practice to

14    condition bail for UACs on the child’s parents or guardians appearing before an

15    agent of the former Immigration and Naturalization Service (INS) violated due

16    process and the Immigration and Nationality Act (INA). Plaintiffs cited the absence

17    of established procedures for the conditions of custody or for reuniting children with

18    parents or legal guardians. See Reno v. Flores, 507 U.S. 292, 295–96 (1993); Flores

19    v. Meese, 934 F.2d 991, 995 (9th Cir. 1990), rev’d Flores, 507 U.S. at 292. In the

20    FSA, the parties agreed to basic procedures addressing both matters. But since then,

21    the legal basis for the agreement has withered away: Congress enacted legislation

22    protecting UACs, and the agencies promulgated detailed standards and regulations

23    implementing that legislation and the terms of the FSA.
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1           The FSA itself has changed the immigration landscape by removing some of
2     the disincentives for families to enter the U.S. unlawfully. Unlawful family

3     migration barely existed in 1997. Since then, it has become widespread. U.S. Border

4     Patrol reported a total of 614,020, 993,940, and 996,070 encounters with individuals

5     in family units for FY2022, FY2023, and FY2024, respectively. Declaration of Marc

6     Rosenblum, attached as Ex. B.

7           The numbers of UACs also increased during that time, with Border Patrol

8     reporting 149,093 encounters with UACs on the Southwest border in FY2022,

9     131,519 in FY2023, and 99,704 in FY2024. Declaration of John Modlin, attached as

10    Ex. A, ¶ 8. In those hundreds of thousands of cases, adults and children made the ill-

11    conceived decision to entrust their children or themselves to human traffickers and

12    embark on a dangerous journey to the U.S. southern border, which is recognized as

13    the “world’s deadliest migration land route.” 1 Such conduct, often with the

14    expectation of a quick release into the United States and avoidance of immigration

15    enforcement, is due in large part to the FSA, which has prevented the federal

16    government from effectively detaining and removing families. The FSA—which

17    was designed to address the much narrower issue of finding custodians and

18

19
20    1
            International Office of Migration, US-Mexico Border World’s Deadliest
      Migration Land Route (Sept. 12, 2023), available at https://www.iom.int/news/us-
21    mexico-border-worlds-deadliest-migration-land-route (Sept. 12, 2023) (viewed Apr.
      7, 2025), attached as Ex. C. The loss of human life has been devastating, with 686
22    deaths and disappearances of migrants on the U.S.-Mexico border in calendar year
23    2022 alone, based on available—and incomplete—data. Id.

                                                4
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1     providing temporary care for UACs—removes the disincentives enacted by
2     Congress to making this dangerous journey.

3           The law governing consent decrees cuts strongly against the FSA’s longevity.

4     No reasonable basis exists for one court to oversee all children in the custody of

5     DHS and HHS—a major driver of the immigration system for 28 years, and subject

6     to the self-interested monitoring and motions filed by lawyers appointed over a

7     generation ago. Over the past decade, the government has paid more than $4.25

8     million to class counsel, either in awards for attorney fees and costs or in settlements

9     to obtain releases from attorney-fee claims arising out of litigation in this case. 2

10    Courts are obliged under Horne and other precedents to discontinue such a regime.

11          It is time for the era of the Flores consent decree to end. Through this Rule

12    60(b) motion, Defendants seek to terminate the decree on multiple grounds, though

13    any one alone would suffice. Relief is warranted under Rule 60(b) because: (1) under

14    8 U.S.C. § 1252(f)(1) this Court lacked jurisdiction to enter a class-wide injunction

15    as to DHS and, with the benefit of recent Supreme Court precedent, clearly lacks

16    jurisdiction to enforce the FSA now; (2) events following the FSA, including an

17    intervening Act of Congress and the implementation of Flores principles and

18    policies, obviate the need for the FSA; (3) continued enforcement of the FSA

19    violates the Constitution’s separation-of-powers principles by indefinitely

20    entangling the Judiciary in the management of national-immigration policy; (4) the

21
      2
            These payments include $540,000 to class counsel for a release from attorney-
22    fee claims arising out of class counsel’s motion to enforce the FSA during the
      COVID-19 pandemic, ECF No. 1325, and $577,000 for a release from attorney-fee
23    claims arising out of a motion to enforce at emergency-intake sites, ECF No. 1340.
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1     FSA’s terms violate the Administrative Procedure Act (APA); and (5) the FSA is no
2     longer equitable given the dramatic changes that have occurred since 1997, including

3     the creation of detailed custodial systems, which did not exist in 1997, for UACs and

4     families who entered the United States unlawfully. For these reasons, this Court

5     should grant this motion and dissolve the FSA in its entirety.

6                                      BACKGROUND

7           The 1985 Complaint

8           In 1984, in response to a huge uptick in illegal immigration and increased

9     numbers of UACs, the former INS’s Western Regional Office adopted an ad hoc

10    policy permitting the release of detained minors—but only to their parents or lawful

11    guardians, except in extraordinary cases when the juvenile could be released to

12    individuals who agreed to care for the child’s wellbeing. See Flores, 507 U.S. at 296.

13          On July 11, 1985, four plaintiffs, ages 13-16, who were citizens of El

14    Salvador, in immigration custody, and unaccompanied by their parents or legal

15    guardians, initiated this action. Compl. ¶¶ 12–15. They sought certification of a class

16    defined as “all persons under the age of 18 who have been, are, or will be arrested

17    and detained pursuant to [former] 8 U.S.C. 1252 by the INS within INS’ Western

18    Region and who have been, are, or will be denied release from INS custody because

19    a parent or legal guardian fails to personally appear to take custody of them.” Flores,

20    934 F.2d at 994–95.

21          The four plaintiffs alleged that they were required to share sleeping quarters

22    with unrelated adults, provided no educational materials or recreational activities,

23    received no medical examinations, and were denied reasonable visitation with
                                                6
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1     family and friends. Compl. ¶¶ 7, 42, 43, 45. Two plaintiffs alleged that their parent
2     would not appear in person to accept physical custody of them because they feared

3     being deported, and the third plaintiff alleged that her parents were in El Salvador,

4     id. ¶¶ 28, 34, 40. The fourth plaintiff alleged that, after she met with her attorneys,

5     INS agents strip-searched her. Id. ¶ 46. All four plaintiffs alleged that Defendants

6     did not assess the qualifications of non-parent adults who were willing to take

7     custody and care for them, and that, therefore, INS policy and practice was “a thinly

8     veiled device to apprehend parents of incarcerated juveniles and to punish children

9     for allegedly having entered the United States without lawful authority,” id. ¶¶ 6, 8.

10    Plaintiffs claimed that conditioning bond on their parents’ or legal guardians’

11    personal appearance violated their substantive-due-process right to be free from

12    physical restraint, violated procedural due process by not requiring an individualized

13    determination of the juvenile’s best interests, and exceeded the Attorney General’s

14    authority under the former-immigration-detention statute, 8 U.S.C. § 1252 (repealed

15    1996), which permitted the INS to release aliens on bond or conditional parole.

16          The 1988 Rule

17          In October 1987, INS initiated a rulemaking to adopt procedures relating to

18    detention and release of juvenile aliens. 52 Fed. Reg. 38,245 (Oct. 15, 1987). In

19    November 1987, the parties entered into a Memorandum of Understanding (1987

20    MOU) regarding detention conditions, under which minors in immigration custody

21    for more than 72 hours would be housed in facilities that met or exceeded certain

22    standards. See Memorandum of Understanding Re Compromise of Class Action:

23
                                                7
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1     Conditions of Detention, Flores v. Meese, No. 85–4544–RJK (C.D Cal., Nov. 30,
2     1987).

3           In May 1988, INS issued the rule, Detention and Release of Juveniles, 53 Fed.

4     Reg. 17,449 (May 17, 1988) (the 1988 Rule). The 1988 Rule provided that alien

5     juveniles generally “shall be released, in order of preference, to: (i) a parent; (ii) a

6     legal guardian; or (iii) an adult relative (brother, sister, aunt, uncle, grandparent) who

7     are not presently in INS detention.” 8 C.F.R. § 242.24(b)(1) (1992). If the only listed

8     individuals were also in INS detention, INS would consider simultaneous release of

9     the juvenile and custodian “on a discretionary case-by-case basis.” Id.

10    § 242.24(b)(2). Under the rule, INS could hold minors in a detention facility

11    designed for juveniles pending efforts to identify “suitable placement … in a facility

12    designated for the occupancy of juveniles.” Id. § 242.24(c).

13          For juveniles who were not released, the INS required a designated INS

14    official, the “Juvenile Coordinator,” to locate “suitable placement ... in a facility

15    designated for the occupancy of juveniles.” Id. § 242.24(c). INS could briefly hold

16    the minor in any “INS detention facility having separate accommodations for

17    juveniles,” Id. § 242.24(d), subject to the terms of the 1987 MOU.

18          The Supreme Court’s Remand in Reno v. Flores (1993).

19          After this Court granted summary judgment in favor of Plaintiffs’ challenge

20    to the 1988 Rule, the Supreme Court intervened, reversing the Ninth Circuit’s

21    affirmance of this Court’s decision. Flores, 507 U.S. at 315. The Supreme Court

22    rejected Plaintiffs’ substantive-due-process claim, noting that “‘juveniles, unlike

23    adults, are always in some form of custody’ . . ., and where the custody of the parent
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1     or legal guardian fails, the government may (indeed, we have said must) either
2     exercise custody itself or appoint someone else to do so.” Id. at 302 (citation

3     omitted). As to Plaintiffs’ procedural-due-process claim, the Supreme Court found

4     the Constitution was satisfied by an INS process entitling alien juveniles to a hearing

5     on detention before an immigration judge. Id. at 309. This Court likewise rejected

6     Plaintiffs’ statutory-authority argument. Id. at 312. 3

7           The 1997 Flores Settlement Agreement

8           Though the Supreme Court rejected all of Plaintiffs’ claims, the parties agreed

9     to a settlement on remand. The FSA became effective on January 28, 1997, upon

10    this Court’s approval, and provides that “the court shall retain jurisdiction over this

11    action.” FSA, attached as Ex. J, ¶ 35. When the parties signed the FSA, INS was

12    responsible for arresting, processing, detaining or releasing, and removing aliens,

13    including UACs.

14          The purpose of the FSA was to establish a “nationwide policy for the

15    detention, release, and treatment of minors in the custody of the INS.” FSA ¶ 9. The

16    parties expanded the settlement class beyond the Western Region, to cover “[a]ll

17    minors who are detained in the legal custody of the INS.” Id. ¶ 10. A “minor” is

18    defined as “any person under the age of eighteen (18) years who is detained in the

19    legal custody of the INS,” but excludes minors who have been emancipated or

20    incarcerated due to a criminal conviction as an adult. Id. ¶ 4. The detention of many

21
      3
             The 1988 Rule remains in effect today, although, in 1997, INS moved it to
22    8 C.F.R. § 236.3. See 62 Fed. Reg. 10,312, 10,360 (Mar. 6, 1997). In 2002, INS
      transferred relevant authority to the Director of the Office of Juvenile Affairs. See
23    67 Fed. Reg. 39,255, 39,258 (June 7, 2002).
                                                9
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1     alien minors occurred under what was, at the time, the discretionary-detention
2     statute. See Flores, 507 U.S. at 309.

3           The FSA’s terms reflect that the parties intended it to be a stopgap measure

4     until Defendants promulgated regulations governing the care and custody of UACs.

5     See K.O. by & through E.O. v. United States, 651 F. Supp. 3d 331, 338 (D. Mass.

6     2023) (observing that the FSA was intended to be a stopgap measure); Bunikyte, ex

7     rel. Bunikiene v. Chertoff, No. A-07-CA-164-SS, 2007 WL 1074070, at *2 (W.D.

8     Tex. Apr. 9, 2007) (same). The FSA was originally set to expire within five years,

9     but, in December 2001, this Court entered the parties’ stipulation to amend the

10    termination date to “45 days following defendants’ publication of final regulations

11    implementing this Agreement.” ECF No. 13.

12          Significant Changes in Circumstances Since 1997

13          Since the FSA was entered in 1997, the United States’ public-policy interests

14    have shifted. Events such as the September 11, 2001 terrorist attacks, and the growth

15    of national-security threats such as drug trafficking and human smuggling by

16    transnational criminal organizations, have necessitated policy responses that could

17    not have been reasonably contemplated in 1997.

18          In 2002, Congress abolished INS and transferred its functions to the newly

19    created DHS. See Homeland Security Act (HSA), Pub. L. No. 107–296, §§ 441, 451,

20    471, 116 Stat. 2135, 2205, 2308 (Nov. 25, 2002) (6 U.S.C. §§ 251, 271, 291, 542).

21    With respect to the care of UACs, Congress transferred responsibility from the INS’s

22    UAC program to the Office of Refugee Resettlement (ORR) within HHS. 6 U.S.C.

23
                                               10
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1     § 279. 4 ORR became responsible for coordinating and implementing the care and
2     placement of UACs, making and implementing placement determinations,

3     overseeing the infrastructure and personnel of UAC facilities, and other functions. 6

4     U.S.C. § 279(b).

5           In the wake of 9/11, DHS ended the practice of “catch-and-release.” 5

6     Previously, families apprehended at the border generally were released rather than

7     detained because of limited bed space. Bunikyte, 2007 WL 1074070, at *1 (citation

8     omitted). The catch-and-release practice created enforcement vulnerabilities,

9     namely that smugglers reportedly brought children across the border with groups of

10    smuggled strangers and presented them as family units, in order to avoid detention

11    if apprehended. Ex. C ¶ 7. Catch-and-release also incentivized families to bring

12    children on a dangerous journey. Id. To maintain family unity, ICE opened family

13    residential centers (FRCs). Id. ¶¶ 8, 9. At the time, ICE used the 2000 INS Detention

14    Standards, blended with traditional juvenile standards, to establish a baseline of

15    performance requirements and oversight procedures for FRCs. Id. ¶ 15.

16
17

18
      4
            ORR is a program of the Administration for Children and Families (ACF) that
      was created with the enactment of the Refugee Act, Pub. L. No. 96-212, 94 Stat. 102
19    (Mar. 17, 1980).

20    5
             Declaration of Timothy L. Perry, Deputy Assistant Director, Detention
      Management Division, Office of Detention and Removal Operations, ICE (Mar. 16,
21    2007), Bunikyte, No. A-07-CA-164-SS (W.D. Tex.), ECF No. 17-1, attached as
      Exhibit C ¶ 6. Under the catch-and-release policy, the government issued aliens
22    apprehended at or near the border notices to appear in removal proceedings and
23    released them on their own recognizance or bail. Id.

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1              In the meantime, the numbers of alien minors arriving in the United States
2     each year increased significantly. While the numbers fluctuate from year to year,

3     they remain significantly higher than the approximately 7,000 to 8,000 entering each

4     year in the early 1990s. See Flores, 507 U.S. at 294 (recognizing that a surge of

5     “more than 8,500” alien minors represented a “serious” problem). From FY1993

6     until FY2011, the numbers of UACs apprehended by the government stayed

7     relatively consistent year-over-year. Declaration of Toby Biswas, attached as Ex. D

8     ¶ 4. In FY2012, DHS referred 13,625 UACs to ORR. Id. In FY2023, ORR received

9     118,938 referrals—a thirteenfold increase from the time the FSA was entered. Id.

10             The need to “hous[e] family units,” which was not contemplated by the parties

11    in 1997, see Flores, 828 F.3d at 906, became a significant issue. U.S. Customs and

12    Border Protection (CBP) reported 14,855 Border Patrol encounters of individuals in

13    family units (FAMUs) along the Southwest border in FY2013. Ex. A ¶ 8. CBP

14    reported 614,020 Border Patrol encounters with individuals in family units in

15    FY2022, 993,940 individuals in family units in FY2023, and 996,070 in FY2024.

16    Ex. B.

17             More recently, the numbers of encounters along the border have decreased,

18    but they remain higher than they were in the early 1990s. In the first six months of

19    FY2025, Border Patrol reported 22,662 encounters with UACs and 50,662 with

20    individuals in FAMUs along the Southwest border. Ex. A, ¶ 8. Even with stronger

21    enforcement and significantly fewer unlawful entries, however, the FSA continues

22    to frustrate CBP’s ability to carry out its mission of protecting the border. See id.,

23    ¶ 18. Stronger enforcement has required Border Patrol to keep people in custody
                                                 12
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1     longer. [cite] Increases in encounters and the numbers of UACs and FAMUs in
2     custody are difficult to plan for because the increases are neither steady nor

3     predictable. See generally Ex. A.

4           Since 1997, Congress and the agencies enacted protections for UACs in

5     government custody. DHS must notify HHS within 48 hours of the apprehension or

6     discovery of a UAC and transfer them to HHS’s custody within 72 hours, absent

7     exceptional circumstances and except when a UAC from a contiguous country is

8     permitted to withdraw his or her application for admission. See William Wilberforce

9     Trafficking Victims Protection Reauthorization Act of 2008 (TVPRA), Pub. L. No.

10    110-457 § 235, 122 Stat. 5044, 5074 (Dec. 23, 2008) (8 U.S.C. § 1232(b)(2), (3)).

11    Further, UACs in HHS custody must be promptly placed in the least restrictive

12    setting that is in the child’s best interest, and, if placed in a secure facility, the

13    placement shall be reviewed monthly. 8 U.S.C. § 1232(c)(2)(A). Other provisions

14    govern legal-orientation presentations and access to counsel. Id. § 1232(c)(4) & (5).

15          In 2014, pursuant to the Prison Rape Elimination Act (PREA), DHS issued

16    regulations to prevent, detect, and respond to sexual abuse and assault in DHS

17    confinement facilities. 6 See 79 Fed. Reg. 13,100 (Mar. 7, 2014) (6 C.F.R. § 115.10-

18    95 (detention facilities), id. § 115.110-195 (holding facilities)). Under DHS’s PREA

19    regulations, juveniles must be detained in the least restrictive setting appropriate to

20    the juvenile’s age and special needs, and facilities must hold juveniles apart from

21    adult detainees, unless the juvenile is in the presence of an adult family member, and

22
      6
            Congress enacted PREA in 2003. See Pub. L. No. 108-79, 117 Stat. 972 (Sept.
23    4, 2003), codified at 34 U.S.C. § 30301, et seq.
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1     provided the arrangement presents no safety or security concerns. 6 C.F.R. §§
2     115.14(a), (b) (detention), 115.114(a)(b) (holding). Further, each facility must

3     supervise detainees through appropriate staffing levels and, where applicable, video

4     monitoring to protect detainees against sexual abuse, and must develop and

5     document comprehensive-supervision guidelines. 6 C.F.R. § 115.13, 115.113. ORR

6     issued similar regulations with respect to UACs in its custody. See 79 Fed. Reg.

7     77,768 (Dec. 24, 2014), codified at 45 C.F.R. pt. 411.

8           In October 2015, CBP issued its Transport, Escort, and Detention Standards

9     (TEDS), implementing a CBP-wide policy setting nationwide standards to govern

10    CBP’s interaction with detained individuals. See TEDS, Ex. F. Under the TEDS

11    policy, detainees generally should not be held for more than 72 hours in a CBP

12    facility. Id. § 4.1. TEDS establishes national standards for medical screening, gender

13    separation, segregation of juveniles from adult populations (unless the adult is an

14    immediate relative or legal guardian), and family unity. Id. § 4.3. It also establishes

15    standards for detainee privacy, hold-room conditions, consular access, lists of legal-

16    services providers, telephone access, bedding, hygiene, and access to food, water,

17    and restrooms. Id. §§ 4.6-4.15.

18          In 2020, ICE updated its standards governing FRCs, the Family Residential

19    Standards (FRS), which likewise set the standards for the care and custody of

20    FAMUs and juveniles. See Declaration of Dawnisha Helland, attached as Ex. G;

21    FRS, attached as Ex. H.

22          In January 2025, President Trump signed the Laken Riley Act into law. Pub.

23    L. 119-1, 139 Stat. 3 (2025). It expanded the category of aliens who are subject to
                                                14
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1     mandatory detention. Id. Most importantly, States can now sue for injunctive relief
2     if a decisions by DHS harms the State or its residents, which adds pressure on DHS

3     to end catch-and-release and ensure compliance with the mandatory-detention

4     provisions required under the INA.

5           Flores Litigation Related to DHS

6           Since 1997, there has been significant litigation over the FSA’s terms, most

7     of which arose from class counsel’s fifteen motions to enforce the FSA. Below are

8     examples of the litigation that has occurred in the past decade.

9        • Flores v. Johnson, 212 F. Supp. 3d 864 (C.D. Cal. 2015) (granting Plaintiffs’

10          Motion to Enforce, ECF No. 100, and ruling that the FSA applies to all alien

11          minors in government custody, including those in FAMUs);

12       • Flores, 828 F.3d. at 902–903 (upholding this Court’s conclusion that the FSA

13          applies to accompanied-alien minors and that during an emergency or influx,

14          minors must be transferred “as expeditiously as possible” to a non-secure,

15          licensed facility);

16       • Flores v. Sessions, 394 F. Supp. 3d 1041, 1063-67 (C.D. Cal. 2017)

17          (interpreting the FSA to require ICE to make and record continuous efforts to

18          release accompanied minors in expedited-removal proceedings—even though

19          such     minors       are    subject        to   mandatory   detention   under

20          8 U.S.C. § 1225(b)(1)(B)(ii) or (iii)(IV). This Court also concluded that

21          Defendants must assess each individual class member in expedited-removal

22          proceedings for discretionary, humanitarian parole);

23
                                                   15
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1         • Flores v. Barr, 407 F. Supp. 3d 909, 916–20 (C.D. Cal. 2019) (permanently
2            enjoining DHS’s and HHS’s the 2019 Rule implementing the FSA 7 because

3            this Court found that the provisions related to the detention of UACs and the

4            licensing of family-detention facilities were inconsistent with the FSA), aff’d

5            in part, rev’d in part, Flores v. Rosen, 984 F.3d 720, 737 (9th Cir. 2020)

6            (upholding permanent injunction of the 2019 Rule applicable to the care and

7            custody of accompanied minors, based upon its conclusions that the

8            regulations differed substantially from the FSA, but reversing and remanding

9            this Court’s decision as to most of the provisions related to Border Patrol

10           custody and UACs, because those provisions were consistent with the FSA);

11        • ECF No. 1406 at 11 (granting in part Plaintiffs’ Motion to Enforce, ECF No.

12           1392, based on its finding that alien juveniles waiting in Outdoor

13           Congregation Areas (OCAs)—plots of land along the U.S.-Mexico border that

14           are not controlled or owned by CBP—are detained in CBP custody, and

15           ordering CBP to cease “holding” alien children in these sites, and monitor

16
17

18

19    7
            On August 23, 2019, DHS and HHS published final regulations to implement
20    the FSA. See 84 Fed. Reg. 44,392–535 (Aug. 23, 2019) (2019 Rule). The 2019 Rule
      included two sets of regulations: one issued by DHS and the other by HHS. Id. at
21    44,515-30 (DHS); id. at 44,530-35 (HHS). The DHS regulations govern the
      apprehension and processing of unaccompanied and accompanied minors, and the
22    care and custody of accompanied minors. The HHS regulations governed the care
23    and custody of UACs.

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1           compliance with the FSA with respect to any alien juveniles present at
2           OCAs). 8

3           Resumption of Operations in FRCs

4           In March 2025, ICE resumed the operation of FRCs to house family units, for

5     the purpose of increasing compliance with immigration obligations, reducing the

6     number of absconders, and housing members of the same family together. See Ex.

7     G ¶¶ 13-15. Without FRCs, ICE’s ability to monitor immigration cases and execute

8     removal orders is compromised. 9 Id. ¶¶ 15-28. FRCs provide a safe setting for family

9     units awaiting removal together while advancing the public-policy interests in

10    reducing the number of absconders and enabling ICE to better manage its resources.

11    Id. ¶¶ 19, 20, 23.

12

13
      8
              Beginning in October 2022, large groups of aliens began to enter the United
14    States through Mexico, and congregate in the areas east of the San Ysidro Port of
      Entry, known as OCAs, including remote areas that are not reachable by bus or car
15
      and lack basic amenities, like shade and drinking water. Ex. A ¶ 18. There, the aliens
16    waited until Border Patrol agents could arrive. See ECF No. 1406 at 1-3. The groups
      consisted of dozens to hundreds of aliens, often believed to be assisted by cartel-
17    affiliated smuggling organizations. ECF No. 1398-1 ¶ 7. The OCAs were neither
      established nor maintained by CBP. ECF No. 1479-1 ¶ 6.
18
      9
             The most reliable factor for determining whether an alien is removed when a
19    final order is issued is whether the alien is in detention when this occurs. 84 Fed.
20    Reg. at 44,488. In many cases when an alien was at large when a final order of
      removal was issued, ICE expended significant resources to locate, detain, and
21    subsequently remove the alien in accordance with the final order. Id.

22          According to ICE data, family units on ATD tend to abscond at a higher rate
      than non-family unit participants. Id. (noting that the absconder rate for FAMUs was
23    30 percent, while the absconder rate for non-FAMUs was 19 percent).
                                                17
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1           This Court’s Retention of Jurisdiction over ORR’s Implementation of the
2           FSA at Secure, Heightened Supervision, and Out-of-Network Facilities

3           On April 30, 2024, HHS issued a rule governing the placement, care and

4     custody of UACs. Unaccompanied Children Foundational Rule, 89 Fed. Reg. 34,

5     384 (Apr. 30, 2024) (Foundational Rule). Defendants moved to terminate the FSA

6     as to HHS, under Rule 60(b)(5), based on the Foundational Rule. ECF No. 1414. On

7     June 28, 2024, this Court conditionally and partially terminated the FSA as to HHS,

8     except for FSA ¶¶ 28.A, 32, and 33, which concern collection of certain information

9     about UACs, attorney-client visits, and site visits, and as to the FSA provisions

10    governing secure, heightened supervision, and out-of-network facilities. ECF No.

11    1447. This Court also held that termination was contingent on the Foundational Rule

12    not being subsequently rescinded or modified inconsistent with the FSA, and

13    retained jurisdiction to modify its order, “should further changed circumstances

14    make it appropriate.” Id. at 21.

15          With respect to UAC placements at secure, heightened supervision, and out-

16    of-network facilities, the Court ruled that the Foundational Rule failed to implement

17    the FSA by: (1) “appear[ing] to impermissibly allow isolated or petty offenses to be

18    considered in the decision to place [UACs] in a heightened supervision facility”; (2)

19    “appear[ing], impermissibly, to allow placement in a heightened supervision facility

20    solely because a child is ready to ‘step down’ from a secure facility”; and (3)

21    “fail[ing] to provide substantive protections for the children placed at [out-of-

22    network] facilities,” and failing to ensure that out-of-network placements are

23    governed by the same standards as those in network providers. Id. at 12-13. As to
                                                 18
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1     Defendants’ argument that the parties did not contemplate out-of-network facilities
2     in the FSA, this Court concluded that out-of-network facilities have “typically” been

3     considered a form of secure placement, and did not consider that any out-of-network

4     facility must be State licensed. See 45 C.F.R. § 410.1001.

5           2025 ORR Policy Guidance

6           On May 19, 2025, HHS promulgated policy guidance in response to this

7     Court’s concerns in its Order Partially Terminating the FSA as to HHS, ECF No.
8     1447. Ex. D ¶¶ 5-17. Although ORR has been implementing the Foundational Rule

9     in accordance with this Court’s June 28, 2024 order, these updates explicitly

10    establish that it is doing so through formal guidance. First, ORR revised the UAC
11    Policy Guide to delete references to isolated and petty offenses as a basis for

12    placement in a heightened-supervision facility. Ex. D ¶ 7. Second, ORR updated its

13    UAC Policy Guide to remove a provision that previously listed the step-down of
14    children from a secure placement to a heightened-supervision facility as a possible

15    justification alone for placement. See id. ¶¶ 8-9. Third, ORR clarified that the same

16    standards that apply to in-network providers will generally apply to out-of-network
17    placements. See id. ¶¶ 10-18; Policy Guide § 3.3. The UAC Policy Guide update

18    also clarifies that behavior-management policies, as described in the Foundational

19    Rule and Policy Guide, will apply to out-of-network placements. Ex. D ¶ 13.
20                                 LEGAL STANDARDS

21          “Pursuant to Rule 60(b)(4), a litigant may attack a judgment as void due to

22    lack of subject matter jurisdiction.” Wages v. IRS, 915 F.2d 1230, 1234 (9th Cir.

23    1990).
                                               19
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1           Rule 60(b)(5) provides that a court “may relieve a party ... from a final
2     judgment, order, or proceeding” when “the judgment has been satisfied, released, or

3     discharged” or when “applying it prospectively is no longer equitable.” Fed. R. Civ.

4     P. 60(b)(5). The Supreme Court has explained that the disjunctive language of Rule
5     60(b)(5) clarifies that each of these grounds for relief is “independently sufficient.”

6     Horne, 557 U.S. at 454. Under the first clause of Rule 60(b)(5), relief from judgment

7     is appropriate when a judgment has been satisfied according to its own provisions.
8           In contrast, the “equitable” clause of Rule 60(b)(5) allows a court to modify

9     or vacate an order if “a significant change either in factual conditions or in law

10    renders continued enforcement detrimental to the public interest.” Id. at 447 (cleaned

11    up). Where the government seeks relief from an “institutional-reform” decree, courts

12    must apply a “flexible approach” to “ensure that responsibility for discharging the

13    [government’s] obligations is returned promptly to the [government] and its officials

14    when the circumstances warrant.” Id. at 448–50 (internal quotation marks and

15    citation omitted). A flexible approach is necessary for several reasons. First, “the

16    passage of time frequently brings about changed circumstances—changes in the

17    nature of the underlying problem, changes in governing law or its interpretation by

18    the courts, and new policy insights—that warrant reexamination of the original

19    judgment.” Id. at 447–48. Second, these types of decrees often involve core-

20    government responsibilities and raise separation-of-powers concerns. Id. at 448.

21    Last, “public officials sometimes consent to, or refrain from vigorously opposing,

22    decrees that go well beyond what is required by federal law.” Id. Future officials

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1     then “inherit overbroad or outdated consent decrees” that unduly constrain “their
2     ability to fulfill their duties as democratically-elected officials.” Id. at 449.

3           When determining whether to vacate an injunction under Rule 60(b)(5), courts

4     must also consider “whether ongoing enforcement of the original order [is]

5     supported by an ongoing violation of federal law.” Id. at 454. Further, if the

6     government has implemented a “durable remedy,” judicial oversight should cease.

7     Id. at 450. Rule 60(b)(5) also permits modification of a decree if it is “suitably

8     tailored” to resolve problems created by changed circumstances. Rufo v. Inmates of

9     Suffolk Cnty. Jail, 502 U.S. 367, 383 (1992). 10 Once a party carries its burden to

10    show that changed circumstances warrant relief from a consent decree, “a court

11    abuses its discretion when it refuses to modify an injunction or consent decree in

12    light of such changes.” Horne, 557 U.S. at 447 (internal quotations and citation

13    omitted).

14          Rule 60(b)(6) permits relief from judgment for “any other reason that justifies

15    relief.” Fed. R. Civ. P. 60(b)(6). It permits the district court to vacate judgments

16    “whenever such action is appropriate to accomplish justice.” Henson v. Fid. Nat’l

17    Fin., Inc., 943 F.3d 434, 443–44 (9th Cir. 2019) (internal quotations and citation

18    omitted). Relief under the rule is available only in “extraordinary circumstances.”

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             “To the extent Rufo and Horne differ as to the appropriate course of action
      when a party seeks a Rule 60(b)(5) modification to an order in an institutional reform
21    case,” the Court should follow Horne because Defendants seek the FSA’s
      termination, not a partial modification, and because “Horne is the latest ruling in a
22    trend of decisions that lower the threshold for defendants to obtain a modification
      to, or the dissolution of, orders in long-lasting institutional reform cases.” Jackson
23    v. Los Lunas Cmty. Program, 880 F.3d 1176, 1199–1201 (10th Cir. 2018).
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1     Buck v. Davis, 580 U.S. 100, 123 (2017). But “[i]n determining whether
2     extraordinary circumstances are present, a court may consider a wide range of

3     factors,” such as “the risk of injustice to the parties and the risk of undermining the

4     public’s confidence in the judicial process.” Id. at 123 (internal quotations and

5     citation omitted).

6                                         ARGUMENT

7     I.    Dissolving the FSA as to DHS and Vacating the Permanent Injunction as
8           to the 2019 DHS Rule Are Required under § 1252(f) and the Supreme

9           Court’s Decision in Aleman Gonzalez.

10          This Court must dissolve the FSA as to DHS and lift its injunction enjoining

11    the 2019 DHS Rule because this Court lacked jurisdiction to enjoin the 2019 Rule

12    or enter the FSA in the first place with respect to the former INS, and ICE and CBP

13    as its successors, under 8 U.S.C. § 1252(f)(1). The Supreme Court’s decision in

14    Garland v. Aleman Gonzalez, 596 U.S. 543 (2022) has resolved any doubt that

15    § 1252(f)(1) divested courts of jurisdiction to restrain the operation of the

16    immigration-detention provisions in the INA. Relief is thus warranted under Rule

17    60(b)(4) because the injunction is void for lack of jurisdiction and under Rule

18    60(b)(5) due to a change in decisional law. Indeed, “[a] court errs [under Rule

19    60(b)(5)] when it refuses to modify an injunction or consent decree in light of”

20    “changes in either statutory or decisional law.” Agostini v. Felton, 521 U.S. 203, 215

21    (1997).

22          Section § 1252(f)(1) divests lower federal courts of authority to enjoin or

23    restrain the operation of the detention provisions of the INA. In 2022, the Supreme

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1     Court held that “§ 1252(f)(1) generally prohibits lower courts from entering
2     injunctions that order federal officials to take or to refrain from taking actions to

3     enforce, implement, or otherwise carry out the specified statutory provisions.”

4     Aleman Gonzalez, 596 U.S. at 548–50. The Court also explained that “injunctive

5     relief on behalf of an entire class of aliens” enjoining or restraining the operation of

6     the INA’s detention provisions “is not allowed[.]” Id. at 550–51 (holding that a class-

7     wide injunction requiring the Government to provide bond hearings for class

8     members detained under 8 U.S.C. § 1231(a)(6) were “barred” because they

9     “interfere with the Government's efforts to operate § 1231(a)(6)[.]”). That holding

10    clarifies that the FSA and this Court’s 2019 injunction were inappropriate exercises

11    of jurisdiction.

12          Section 1252(f)(1) codifies section 242(f)(1) of the INA, which refers to “the

13    provisions of chapter 4 of title II” of the INA (as amended by IIRIRA), i.e., sections

14    231 through 244 of the INA, 8 U.S.C. §§ 1221–1231 and 1252–1254a. Galvez v.

15    Jaddou, 52 F.4th 821, 830 (9th Cir. 2022). These sections include the sources of

16    DHS’s authority to detain class members, which are in §§ 1225(b)(1)(B)(ii),

17    1225(b)(1)(B)(iii)(IV), 1225(b)(2)(A), 1226, and 1231(a). The applicable detention

18    authority depends upon the status of the alien’s immigration proceedings and the

19    alien’s criminal history.

20          Specifically, aliens in expedited-removal proceedings “shall be detained

21    pending a final determination of credible fear of persecution and, if found not to

22    have such a fear, until removed.” 8 U.S.C. § 1225(b)(1)(B)(iii)(IV). Likewise,

23    inadmissible aliens seeking admission “shall be detained for a proceeding under
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1     section 1229a.” Id. § 1225(b)(2)(A). Outside of expedited-removal proceedings, the
2     Government has discretion to detain or release an alien on bond pending a decision

3     on whether he or she is to be removed, id. § 1226(a), unless detention is mandatory

4     under § 1226(c) due to certain criminal offenses.

5           Because the detention of class members by ICE and CBP is pursuant to

6     provisions governed by § 1252(f)(1), Aleman Gonzalez makes plain that this Court

7     lacked jurisdiction to enter the FSA. See Florida v. United States, 660 F. Supp. 3d

8     1239, 1267 (N.D. Fla 2023) (recognizing that Flores may be causing violations of

9     § 1225(b) and chastising the government for failing to move for relief in this Court

10    under Aleman Gonzalez). The same is true of this Court’s permanent injunction of

11    DHS’s 2019 regulations, which DHS issued pursuant to sections of the INA that

12    govern immigration custody. This Court has not previously wrestled with Aleman

13    Gonzalez and did not have the benefit of the Supreme Court’s clarification on the

14    scope of § 1252(f)(1) when it approved the FSA in 1997 or permanently enjoined

15    the 2019 DHS rule. But it must do so now given that courts must account for

16    “changes in either statutory or decisional law,” Agostini, 521 U.S. at 215, especially

17    where the changes establish that the court lacks jurisdiction. Under Aleman

18    Gonzalez’s construction of § 1252(f)(1), this Court must dissolve the FSA as to ICE

19    and CBP and the 2019 injunction of DHS’s Rule. Fed. R. Civ. P. 60(b)(4)-(5).

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1     II.      This Court Should Dissolve the Consent Decree Because Its Terms Have
               Been Substantially Satisfied as to HHS and DHS.
2
               A.    HHS’s Recent Policy Guidance Makes Plain that It Has Satisfied
3                    the Conditions of the FSA.
4
               HHS’s policy guidance establishes that it is implementing the Foundational
5
      Rule in accordance with this Court’s concerns as to placement of UACs in secure,
6
      heightened supervision, and out-of-network facilities, as articulated in this Court’s
7
      June 28, 2024 order. ECF No. 1447.
8
               Specifically, this Court concluded that the Foundational Rule was inconsistent
9
      with the FSA in that it allowed ORR to consider isolated or petty offenses when
10
      placing a UAC in a heightened-supervision facility. Id. at 12. ORR has now clarified
11
      that isolated and petty offenses are not a basis for such placement. See Ex. D-3 -
12
      UAC Policy Guide § 1.2.4. ORR further clarified that it will consider whether the
13
      child “has a non-violent criminal or delinquent history not warranting placement in
14
      a secure facility but which evidences a behavioral concern that requires an increase
15
      in supervision” when determining whether to place a UAC in such a facility. Ex.
16
      D ¶ 7.
17
               HHS also has responded to this Court’s conclusion that HHS appeared to
18
      allow placement in a heightened-supervision facility “solely because a child is ready
19
      to ‘step-down’ from a secure facility.” ECF No. 1447 at 12. ORR has foreclosed
20
      such an interpretation in its updated policy guidance by removing the provision at
21
      issue. See Ex. D ¶ 8.
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1           ORR also addressed this Court’s conclusion that the Foundational Rule
2     “fail[ed] to provide substantive protections for the children placed” at out-of-

3     network facilities and to ensure that out-of-network placements are governed by the

4     same standards as in-network providers, ECF No. 1447 at 13. In response, ORR has
5     updated its Policy Guide to explicitly establish that it applies the same standards to

6     out-of-network placements that apply to in-network placements, taking into account

7     the specialized nature of out-of-network facilities and ORR’s single-case agreements
8     with such facilities for individual children. In particular, ORR updated its UAC

9     Policy Guide § 1.4.6 and the definition of an OON to make clear that, wherever

10    possible, the same standards applicable to in-network providers apply to out-of-
11    network placements. See Ex. D ¶¶ 10-18.

12          Because the new policy guidance eliminates any basis for concluding that the

13    Foundational Rule does not satisfy the FSA, this Court must dissolve the FSA as to
14    HHS. Fed. R. Civ. P. 60(b)(5).

15           B.    DHS Has Substantially Satisfied the Terms of the FSA.

16          Termination is likewise necessary as to DHS because DHS has substantially
17    satisfied the terms of the FSA. As this Court has recognized, termination of the FSA

18    is appropriate “so long as the requisite legal standards for termination are met.” ECF

19    No. 1447 at 16 (terminating portions of the FSA as to HHS). As the parties stipulated
20    in 2001, the terminates automatically “45 days following defendants’ publication of

21    final regulations implementing this Agreement.” Ex. J.

22          In the context of institutional-reform litigation, the Supreme Court has
23    criticized lower courts for focusing too narrowly on the terms of the consent decree
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1     rather than the broader question, “whether, as a result of important changes during
2     the intervening years, the [government] was fulfilling its obligations under the [law]

3     by other means.” Horne, 557 U.S. at 439. Indeed, the Horne Court recognized that

4     it “was error” for the lower courts to not consider that a government may fulfill the
5     principal goals of the underlying decree, “even without having satisfied the

6     [verbatim terms of the] original order.” Id. at 466. So too here.

7           This Court should terminate the FSA with respect to DHS in light of DHS’s
8     2019 regulations, which are the latest in decades of efforts aimed at the original goal

9     of the FSA: to create a comprehensive scheme to protect alien juveniles in U.S.

10    custody. See, e.g., Flores v. Huppenthal, 789 F.3d 994, 1001 (9th Cir. 2015)
11    (observing that the critical question in that case was whether the objective of the

12    district court’s order—satisfaction of the underlying federal law—had been

13    achieved); United States v. City of Miami, 2 F.3d 1497, 1505 (11th Cir. 1993) (“A
14    court faced with a motion to terminate . . . a consent decree must begin by

15    determining the basic purposes of the decree.”). Further, continued enforcement of

16    the FSA instead of the policies of the people’s representatives is not in the public
17    interest because continued enforcement interferes with the Executive Branch’s

18    authority to enforce the immigration laws. See infra Section III.A.

19          The conditions of confinement today are far from the conditions that prevailed
20    in the original litigation. Today, there is a routine policy of minimizing the “practice

21    of commingling harmless children with adults of the opposite sex,” Flores, 507 U.S.

22    at 328 (Stevens, J. dissenting) (citing evidence from the 1980s about conditions of
23    confinement in INS custody), and the law provides protective and safe custody for
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1     minors in either DHS or HHS custody, see 6 U.S.C. § 279; 8 U.S.C. § 1232;
2     6 C.F.R. §§ 115.10–.195; 8 C.F.R. §§ 236.3; 45 C.F.R. pts. 410, 411. More

3     specifically, under the regulations governing ICE custody, FRCs provide children

4     with the very “education, recreation, [and] visitation” provisions that were lacking
5     when the Supreme Court initially heard this case. Flores, 507 U.S. at 328; see 8

6     C.F.R.    § 236.3(i)(4)(iv)    (education);      § 236.3(i)(4)(vi)   (recreation    time);

7     § 236.3(i)(4)(xi), (xii), (xiii), and (xv) (visitation); see also Ex. H, FRS § 5.2 (setting
8     forth requirements to ensure that FRCs provide education for all residents 4 to 17

9     years of age, regardless of English proficiency or disability).

10          Beyond resolving the concerns that instigated this lawsuit, the DHS
11    regulations generally incorporate the portions of the FSA that the parties

12    contemplated in 1997 and should go into effect. Previously, this Court deemed only

13    two of the DHS provisions to be inconsistent with the FSA: the provisions related to
14    “expeditious release” of accompanied minors (FSA ¶¶ 14, 18); and the licensing

15    requirements for FRCs (FSA ¶ 19). Flores, 407 F. Supp. 3d at 916–20, aff’d in part,

16    rev’d in part 984 F.3d 720. This Court did not find that any of the other DHS
17    regulatory provisions were inconsistent with the FSA. See generally id. While the

18    DHS regulations do not mirror the expeditious-release provision of the FSA, as this

19    Court has interpreted it to apply to accompanied children, the FSA was intended to
20    provide for prompt release of UACs to a parent or caregiver. The law surrounding

21    the treatment of UACs has changed entirely to address this central concern of the

22    FSA, evidenced by Congress’s definition of UACs, 6 U.S.C. § 279(g)(2), and
23    mandates for protecting UACs, including 8 U.S.C. § 1232. DHS should not remain
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1     subject to the FSA based on this Court’s conclusion that DHS’s regulations
2     governing the custody of accompanied children do not mirror an agreement that was

3     never designed to cover that population.

4           Further, incorporating the FSA’s expeditious-release provisions for
5     accompanied children would contravene current federal statutes. Rufo, 502 U.S. at

6     384 (courts should modify a decree due to a “significant change . . . in law.”). On

7     April 1, 1997, two months after the parties agreed to the FSA, the mandatory-
8     detention provisions in §§ 1225(b) and 1226(c) went into effect. See supra Section

9     I. These provisions were a stark change from the detention statute in place during

10    the initial Flores litigation, negotiations, and the signing of the FSA, as the previous
11    statute permitted, during deportation proceedings: continued detention; release

12    under bond in the amount of not less than $500; or release on conditional parole. 8

13    U.S.C. § 1252(a) (1996). Although this Court determined that the parties were aware
14    of these changes when they signed the FSA, see Flores, 394 F. Supp. 3d at 1065

15    n.15, the Supreme Court has since clarified that § 1252(f)(1) strips this Court of

16    jurisdiction to enjoin or restrict the expeditious-release provisions in the FSA on a
17    class-wide basis. See supra Section I (discussing Aleman Gonzalez, 596 U.S. at 550-

18    51). Given these legal changes, requiring DHS to incorporate the FSA’s expeditious-

19    release provisions for all accompanied children would contravene federal law. This
20    Court therefore cannot require that DHS include such a provision in its regulations

21    where doing so would be unlawful. 5 U.S.C. § 706(2)(A).

22          Likewise, requiring DHS to comply with independent-licensing requirements
23    for FRCs amounts to an impossible task. State licensing of such facilities is in most
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1     cases impossible because family detention is not something that states license. See
2     Flores, 394 F. Supp. 3d at 1069. Of course, family detention generally only arises in

3     the immigration-law context.

4           The FSA is also silent about licensing requirements for family detention—
5     indeed, it is silent about family detention altogether. The FSA speaks only to

6     licensing of facilities for “dependent children,” FSA ¶ 6, i.e., UACs. See Flores, 828

7     F.3d at 906 (agreeing that dependent children were UACs, but erroneously finding
8     that accompanied children could somehow be placed in those same licensed

9     facilities). Given the changed circumstances warranting FRCs—the pronounced

10    increase in family-unit apprehensions since 2013 and perverse incentive that the lack
11    of detention creates, leading hundreds of thousands of children to be taken on the

12    most dangerous migration journey in the world—this Court should recognize the

13    imperative that the government have the flexibility necessary to administer and
14    enforce immigration law, and allow the licensing regulation to take effect.

15          Moreover, all FSA provisions that are consistent with the 2019 DHS

16    regulations must be terminated. Flores, 984 F.3d at 744 (stating that the DHS

17    regulations that were consistent with the FSA “may take effect.”). The Ninth Circuit

18    found that only two of the DHS provisions were inconsistent with the FSA (the

19    provisions related to “expeditious release,” as applied to accompanied minors, FSA

20    ¶¶ 14, 18, and the licensing requirements for FRCs, FSA ¶ 19). Id. at 737–40. On

21    that basis alone, the FSA should be terminated in full except as to Paragraphs 14, 18,

22    and 19 as they apply to accompanied children. The permanent injunction should

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1     further be lifted from the corresponding sections of the 2019 Rule, for the reasons
2     explained supra.

3           Further, this Court must terminate the FSA in its entirety as to CBP and lift

4     the injunction on DHS’s regulations related to CBP, as the Ninth Circuit explicitly

5     found the regulations primarily governing CBP custody to be consistent with the

6     FSA. Id. at 737 (concluding that 8 C.F.R. § 236.3(f) and (g)(2) were consistent with

7     the FSA and “may take effect”). These provisions mirror the requirements in FSA

8     ¶¶ 11, 12, and 25. The mandate on the Ninth Circuit’s opinion issued on July 26,

9     2021. ECF No. 93. Accordingly, by the clear terms of the FSA, ¶¶ 11, 12, and 25

10    have terminated. 11

11          Additionally, because the substantive terms of the FSA are terminated as to

12    CBP, this Court should also relieve CBP of the FSA’s administrative and monitoring

13    obligations. Thus, this Court must relieve CBP of Sections X (reporting), XI

14    (attorney-client visits), and XII (facility visits) of the FSA, as well as the

15    transportation obligations of Section VIII (incorporated in 8 C.F.R. § 236.3(f),

16    which has not been found inconsistent with the FSA) and terminate this Court’s

17    jurisdiction over CBP as to this litigation. See Horne, 557 U.S. at 450 (cautioning

18    that federal-court decrees should be limited to “reasonable and necessary

19    implementations of federal law.”); see also Patterson v. Newspaper & Mail

20    Deliverers’ Union of New York, 13 F.3d 33, 39 (2d Cir. 1993) (explaining that, once

21    a decree has served its purpose, “all of its provisions may be ended”).

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      11
           The Court, therefore, must terminate the 2022 CBP Settlement, ECF No.
23    1254-1, as the Settlement interprets FSA ¶¶ 11 and 12.
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1     III.   Termination of the FSA Is Warranted Because Prospective Application
             Is No Longer Equitable.
2
             A. This Court Should Terminate the FSA Because It Improperly
3               Commits Immigration Enforcement and Detention Decisions to the
                Judiciary Rather Than to the Executive.
4
5            Courts must ensure that a consent decree “does not put the court’s sanction on

6     and power behind a decree that violates Constitution, statute, or jurisprudence.”

7     League of United Latin Am. Citizens, Council No. 4434 v. Clements, 999 F.2d 831,

8     846 (5th Cir. 1993) (en banc) (citation omitted). The Ninth Circuit has held that “a

9     district court may not approve a consent decree that conflicts with or violates an

10    applicable statute.” Conservation Nw. v. Sherman, 715 F.3d 1181, 1185 (9th Cir.

11    2013) (internal quotations and citation omitted). Likewise, although the Attorney

12    General has the authority to settle litigation, this authority “does not include license

13    to agree to settlement terms that would violate the civil laws governing the agency.”

14    United States v. Carpenter, 526 F.3d 1237, 1242 (9th Cir. 2008) (citation omitted);

15    cf. Biodiversity Assocs. v. Cables, 357 F.3d 1152, 1169-70 (10th Cir. 2004) (“If the

16    statute changes, the parties’ rights change, and enforcement of their agreement must

17    also change. Any other conclusion would allow the parties, by exchange of

18    consideration, to bind not only themselves but Congress and the courts as well.”).

19    Because the FSA—through its terms, interpretation and applications, as well as its

20    duration—is contrary to law, it is no longer equitable and must be terminated.

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1               1. Enforcing the FSA Is Inequitable Because It Indefinitely Entangles
2                   the Judiciary in Managing Immigration Policy.

3            The FSA violates the separation of powers by permitting ongoing judicial

4     micro-management of immigration matters committed to the Executive Branch.

5     Judicial incursions into the realm of immigration affairs represent “substantial

6     intrusion[s]” into the workings of the political Branches entrusted to implement

7     policies towards migrants. Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

8     252, 268 n.18 (1977). The Supreme Court has explained—in this very case—“[f]or

9     reasons long recognized as valid, the responsibility for regulating the relationship

10    between the United States and our alien visitors has been committed to the political

11    Branches of the Federal Government.” Flores, 507 U.S. at 305 (quoting Mathews v.

12    Diaz, 426 U.S. 67, 81 (1976)). One of the underpinnings for this long-recognized

13    proposition is that immigration policy involves “changing political and economic

14    circumstances” that are appropriate for the political Branches to address, not the

15    Judiciary. Mathews, 426 U.S. at 81; see also San Francisco v. USCIS, 944 F.3d 773,

16    809 (9th Cir. 2019) (Bybee, J., concurring) (“In the immigration context . . . [w]e are

17    limited . . . in our ability . . . to shape our immigration policies. We lack the tools of

18    inquiry, investigation, and fact-finding that a responsible policymaker should have

19    at its disposal.”).

20           This is one reason Congress enacted § 1252(f)(1). “For more than a century,”

21    it has been well settled that a matter implicating foreign relations—such as

22    immigration policy—is a “fundamental sovereign attribute” of the government’s

23    Executive and Legislative Branches and “largely immune from judicial control.”
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1     Trump v. Hawaii, 585 U.S. 667, 702 (2018) (quoting Fiallo v. Bell, 430 U.S. 787,
2     792 (1977)); see also Shaughnessy, 342 U.S. at 588–89 (“[A]ny policy toward aliens

3     is vitally and intricately interwoven with contemporaneous policies in regard to the

4     conduct of foreign relations . . .”). For these reasons, even aside from the

5     jurisdictional bar to class-wide injunctive relief under § 1252(f)(1), respect for the

6     political Branches’ authority over immigration policy dictates a narrow standard of

7     judicial review over executive and legislative decisions in the realm of immigration.

8     Fiallo, 430 U.S. at 792, 796; Mathews, 426 U.S. at 81–82.

9           Contravening these well-settled principles of the limited judicial role, the FSA

10    has created a substantial and unprecedented intrusion of the Judiciary into the

11    Executive’s administration of immigration policy. The scope of the FSA was too

12    broad from the start and its overbreadth exacerbated when it is interpreted to apply

13    to the very different context of accompanied children. The FSA “sets out nationwide

14    policy for the detention, release, and treatment of minors in the custody of the INS.”

15    FSA ¶ 9. It governs an open-ended, ever-changing, and never-ending class of “[a]ll

16    minors who are detained in the legal custody of the INS.” Id. ¶ 10. This class has

17    included millions of people over the years. 12 The FSA—originally designed to

18    address a very specific set of narrow circumstances—has been interpreted to address

19    the custody of all minors at all stages. Id. ¶¶ 12, 14–19, 21–27. It specifies details

20

21    12
            In practice under this class definition, the class’s legal goals are not
      determined by named individual Plaintiffs with concrete interests at stake. Rather,
22    the advocacy organizations acting as class counsel have been deciding the objectives
      of the litigation. The United States respectfully submits that no class counsel is
23    adequate to such a monumental task. See Fed. R. Civ. P. 23(g).
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1     about conditions of custody at various facilities, procedural provisions, and release
2     policies. Id. Paragraph 9 of the FSA mandates rulemaking and provides that “[t]he

3     final regulations shall not be inconsistent with the terms of this Agreement.” Id. ¶ 9.

4     And the FSA puts no temporal limit on the judicial intrusion. Instead, amended

5     Paragraph 40 states that the FSA “shall terminate 45 days following defendants’

6     publication of final regulations implementing this Agreement,” id. ¶ 40 (as amended

7     Dec. 7, 2001, Ex. J), which criteria can only be satisfied by a determination by the

8     judiciary that the executive’s regulations are sufficient. As explained below,

9     publishing final regulations implementing the FSA to meet criteria determined by

10    the judiciary—without regard to any comments received or to any changed

11    circumstances since 1997—would be contrary to the APA.

12          While the scope of the FSA was broad from the beginning, this Court’s

13    interpretation and enforcement of the FSA have significantly expanded it beyond

14    lawful bounds. Even when the FSA has been silent or unclear, this Court has issued

15    specific directives to the government about managing nationwide-immigration

16    enforcement. For example, while the FSA “does not address the potentially complex

17    issues” of housing family units, “does not contain standards related to the detention

18    of . . . family units,” and “gave inadequate attention to some potential problems of

19    accompanied minors,” Flores, 828 F.3d at 906, this Court nonetheless applied the

20    FSA to FAMUs and required release of accompanied minors under specified

21    deadlines and standards irrespective of the custody status of their parents or legal

22    guardians. Also, in 2020, this Court recognized that “Paragraph 12.A does not

23    enumerate which rights must be included in a notice.” ECF No. 987 at 6. Yet this
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1     Court nonetheless interpreted Paragraph 12.A to require a very specific “notice of
2     rights pertaining to custody and release.” Id. In contrast, when ruling on the OCA

3     issue, this Court held that the FSA’s use of the phrase “following arrest” did not

4     require any actual “arrest” to be triggered. See ECF No. 1406 at 10. In practice, the

5     FSA has effectively been interpreted as if it were an open-ended grant of authority

6     to the Judiciary to set policy regarding alien children. That is not equity.

7            Further compounding the judicial intrusions upon the authority of the

8     Executive, this Court has repeatedly applied the FSA to situations the parties did not

9     anticipate, such as to aliens held pending expulsion pursuant to the Title 42 public

10    health order issued during the pandemic. See ECF No. 976. This Court also

11    interpreted the FSA’s terms to apply to placements in out-of-network facilities, ECF

12    No. 1447 at 13, despite the absence of any mention of such facilities or any indication

13    that the parties even contemplated out-of-network facilities in 1997. And in 2024,

14    this Court applied the FSA’s requirements to OCAs, a novel situation that this Court

15    called “open-air detention sites,” despite acknowledging that “it may be true that

16    CBP did not initially intend for these locations to become” detention sites and CBP

17    did not actually hold anyone in detention at the sites. ECF No. 1406 at 9.

18          This Court has also tried to prohibit the use of FRCs because they are not

19    state-licensed, even though state-licensing of those facilities is in most cases literally

20    impossible and not legally necessary. See Flores, 394 F. Supp. 3d at 1069. It is well

21    settled under the intergovernmental-immunity doctrine that “the activities of the

22    Federal Government are free from regulation by any state.” Mayo v. United States,

23    319 U.S. 441, 445 (1943); see also Trump v. Vance, 591 U.S. 786, 829–31, 831 n.5
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1     (2020) (Alito, J., dissenting) (collecting cases showing that “two centuries of case
2     law prohibit the States from taxing, regulating, or otherwise interfering with the

3     lawful work of federal agencies, instrumentalities, and officers”). It follows that

4     immigration detention should not be required to be governed by state-licensing

5     standards.

6           This Court also has stretched the FSA to dictate how the Government may

7     implement the immigration-detention statutes. It required the Government to show

8     that it detains families only for the amount of time needed to expeditiously screen

9     family members for reasonable or credible fear, a requirement absent in any statute,

10    Flores, 394 F. Supp. 3d at 1070. It placed temporal limits on times in custody

11    irrespective of the Government’s enforcement needs, see ECF No. 833 at 3

12    (requiring ICE to release children detained at FRCs for more than 20 days), modified,

13    ECF No. 1024. Likewise, although the expedited-removal statute does not require

14    an individualized assessment of release for accompanied children placed in

15    expedited removal, this Court ordered the government to individually assess those

16    accompanied children for release where federal law does not permit release. Flores,

17    394 F. Supp. 3d at 1066–67; Flores v. Barr, 934 F.3d 910, 916–17 (9th Cir. 2019);

18    ECF No. 784 at 16. In addition, though the FSA explicitly grants flexibility to the

19    government during times of influx, this Court has rendered that flexibility illusory.

20    See, e.g., Flores, 212 F. Supp. 3d at 916 (“Defendants shall not selectively apply the

21    “influx” provision . . . .”). Although reversed by the Ninth Circuit, this Court sought

22    to expand the FSA to require the government to release parents from immigration

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1     detention. See Flores v. Lynch, 212 F. Supp. 3d 907, 916–17 (C.D. Cal. 2015), aff’d
2     in part, rev’d in part, 828 F.3d 898.

3           Beyond dictating how the Government must enforce the immigration-

4     detention statutes, this Court also has overridden the agencies’ expert judgments

5     regarding the actions necessary to protect class members and the community. This

6     Court prohibited ORR from placing children in particular secure facilities based on

7     gang affiliation. ECF No. 470 at 19–20. This Court further ordered ORR to stop its

8     uniform requirement that post-release services be in place in the community before

9     releasing a child to a sponsor. Id. at 30. It ordered ORR to cease elevating release

10    decisions to the ORR Director or his designee, for children previously placed in

11    restrictive settings. See id. at 29. It further ordered Defendants to transfer all class

12    members out of residential-treatment centers “unless a licensed psychologist or

13    psychiatrist has determined or determines that a particular Class Member poses a

14    risk of harm to self or others.” Id. at 14. And, during the COVID-19 pandemic, this

15    Court required ORR to release children to sponsors without conducting the

16    fingerprint-background checks that ORR believed necessary to address “the

17    dangers” inherent to releasing unaccompanied youth to “improperly vetted

18    sponsor[s].” ECF No. 784 at 11–12; see also ECF No. 833 at 5 (“ORR shall review

19    and amend its fingerprinting policy to provide for a less onerous chain of approvals

20    or show cause to this Court why the policy, as written, is imperative[.]”). More

21    broadly, during the pandemic, this Court interpreted the FSA to afford it greater

22    authority to “require heightened inspections” of government facilities and to require

23    the release of class members. ECF No. 740 at 9, 11.
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1           By engaging in such wide-ranging management of Executive agencies, this
2     Court has exceeded the Constitutional limits on the judicial role. The FSA’s general

3     terms and expansive interpretations have encouraged Plaintiffs’ systemic challenges,

4     seeking “wholesale improvement . . . by court decree”—“properly matters that

5     should be pursued in the ‘offices of the Department[s] [of Homeland Security and

6     Health and Human Services] or the halls of Congress, where programmatic

7     improvements are normally made.’” Whitewater Draw Nat. Res. Conservation Dist.

8     v. Mayorkas, 5 F.4th 997, 1011 (9th Cir. 2021) (quoting Lujan v. Nat’l Wildlife

9     Fed’n, 497 U.S. 871, 891 (1990)). Plaintiffs’ counsel may “think that the third

10    branch is more convenient or accessible,” but the traditional, customary mode of

11    operation of the courts—consistent with Article III—is limited to controversies

12    reduced to more manageable proportions. Id. at 1012; see Int’l Union, United Mine

13    Workers of Am. v. Bagwell, 512 U.S. 821, 841 (1994) (Scalia, J., concurring)

14    (equitable courts historically lacked jurisdiction to require performance of anything

15    “‘more than a single affirmative act’” and did not “issue” relief “that required

16    ongoing supervision”). This Court, by contrast, has exercised general supervisory

17    authority over the federal-immigration agencies and directed changes by the

18    agencies through court decree.

19          This Court has often characterized its longstanding and increasingly intrusive

20    interference as mere enforcement of the FSA. See, e.g., Flores, 407 F. Supp. 3d at

21    928. But the “Constitution’s division of power among the three branches is violated

22    where one branch invades the territory of another, whether or not the encroached-

23    upon branch approves the encroachment.” New York v. United States, 505 U.S. 144,
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1     182 (1992). And the FSA “is no ordinary contract,” because it is now effectively
2     open-ended and, as interpreted in response to Plaintiffs’ insistence, “it requires

3     continuing supervision by the district court.” Evans v. City of Chicago, 10 F.3d 474,

4     477–78 (7th Cir. 1993) (en banc) (plurality opinion). Indeed, in its recent ruling

5     concerning termination of the FSA as to HHS, this Court concluded that it “also

6     retains jurisdiction to modify the [FSA] or this Order should further changed

7     circumstances necessitate”—essentially retaining never-ending jurisdiction over the

8     FSA. ECF No. 1447 at 20. This Court’s “decrees implicate the citizenry’s interests

9     as well as those of the parties and bear directly on the salubrious operation of public

10    institutions.” In re Pearson, 990 F.2d 653, 658 (1st Cir. 1993); see Rufo, 502 U.S. at

11    381 (noting that consent decrees “reach beyond the parties involved directly in the

12    suit and impact on the public’s right to the sound and efficient operation of its

13    institutions” (quoting Heath v. De Courcy, 888 F.2d 1105, 1109 (6th Cir. 1989)).

14          For these reasons, “[c]onsent alone is insufficient to support a commitment by

15    a public official that ties the hands of his successor.” Evans, 10 F.3d at 478; see

16    David B. v. McDonald, 116 F.3d 1146, 1150 (7th Cir. 1997) (“[I]in a democracy the

17    people may vote out politicians whose acts displease them, and elect new

18    representatives who promise change.”); cf. Free Enter. Fund v. Pub. Co. Acct.

19    Oversight Bd., 561 U.S. 477, 497 (2010) (“Perhaps an individual President might

20    find advantages in tying his own hands . . . He cannot, however, choose to bind his

21    successors by diminishing their powers . . .”). As the D.C. Circuit has explained,

22    there are “potentially serious constitutional questions about the power of the

23    Executive Branch to restrict its exercise of discretion by contract with a private
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1     party.” Nat’l Audubon Soc., Inc. v. Watt, 678 F.2d 299, 301 (D.C. Cir. 1982). Thus,
2     the government’s consent to the FSA 28 years ago—i.e., five Presidential

3     Administrations ago—does not render lawful the breach of the separation-of-powers

4     that the FSA continues to impose.

5           In addition, institutional-reform decrees, such as the FSA, may not exist in

6     perpetuity because they remove authority from the elected branches of government

7     to the judicial branch. In Horne, the Supreme Court expressed concern that

8     “[i]njunctions of this sort bind state and local officials to the policy preferences of

9     their predecessors and may thereby improperly deprive future officials of their

10    designated legislative and executive powers.” 557 U.S. at 449 (internal quotations

11    and citation omitted). The Supreme Court therefore criticized the lower courts for

12    failing to consider “whether, as a result of important changes during the intervening

13    years, the State was fulfilling its obligations under the [law] by other means.” Id. at

14    439. And the Court went on to observe that a “flexible approach” to modifying such

15    consent decrees allows courts to “ensure that responsibility for discharging the

16    State’s obligations is returned promptly to the State and its officials when the

17    circumstances warrant.” Id. at 450 (quotations and citations omitted).

18          Focusing on the terms of the original injunction, instead of the underlying

19    federal law, causes the court to “improperly substitute[] its own educational and

20    budgetary policy judgments for those of the state and local officials to whom such

21    decisions are properly entrusted.” Id. at 455. To avoid this danger, courts must

22    consider “whether ongoing enforcement of the original order [is] supported by an

23    ongoing violation of federal law.” Id. at 454. If the government has implemented a
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1     “durable remedy,” judicial oversight should cease. Id. at 450. Additionally, “federal-
2     court decrees exceed appropriate limits if they are aimed at eliminating a condition

3     that does not violate [federal law] or does not flow from such a violation.” Id.

4     (alteration in original) (citation omitted); see also United States v. Washington, 573

5     F.3d 701, 710 (9th Cir. 2009) (“The [Supreme] Court has repeatedly reminded us

6     that institutional reform injunctions were meant to be temporary solutions, not

7     permanent interventions, and could be kept in place only so long as the violation

8     continued.”); Evans, 10 F.3d at 480 (“[E]ntry and continued enforcement of a

9     consent decree regulating the operation of a governmental body depend on the

10    existence of a substantial claim under federal law.”).

11          Here, the FSA and its enforcement by this Court implicate each of the

12    Supreme Court’s concerns in Horne. The FSA raises sensitive separation-of-powers

13    concerns and involves immigration and foreign policy—areas of core Executive

14    Branch responsibility. For nearly three decades, the FSA has improperly divested

15    Executive Branch officials of their full legitimate policymaking powers. Even if

16    concerns about violations of the Constitution existed in 1997, the agencies have

17    addressed them by promulgating regulations that far exceed the constitutional floor.

18    See generally 2019 Rule; Foundational Rule; see also Ex. D (describing further

19    updates to ORR’s UAC Policy Guide to establish policies consistent with the court’s

20    June 28, 2024 order as to HHS). Indeed, the Supreme Court found that the former

21    INS’s 1988 Rule did not violate alien minors’ substantive or procedural due process

22    rights. Flores, 507 U.S. at 315. So the FSA is in many respects void ab initio.

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1           But, despite its manifold actions to enforce the FSA over the last twenty-eight
2     years, this Court has not analyzed “whether ongoing enforcement of the original

3     order [is] supported by an ongoing violation of federal law” for decades now. Horne,

4     557 U.S. at 454 (emphasis added). Nor has it asked whether its enforcement of the

5     FSA is inhibiting the legitimate policymaking discretion of the Executive Branch in

6     immigration matters where the federal government must be able to adapt to changing

7     circumstances. See Mathews, 426 U.S. at 81; Flores, 507 U.S. at 305. This Court

8     instead has been zealously focused on the original terms of the FSA. This incorrect

9     focus (Horne, 557 U.S. at 455) has frozen federal officials’ ability to address and

10    respond to a series of immigration crises since 2014, contributing substantially to

11    the intolerable situation on the Southern Border.

12          The Court should thus dissolve the FSA because it is precisely the type of

13    institutional-reform injunction that the Supreme Court cautioned against: it prevents

14    the government from exercising its constitutional powers to develop new policies to

15    address the changes in immigration to the United States. The FSA divests the

16    Executive of its power to respond to new situations and foreign-relations concerns

17    and transfers that power to the Judiciary, which is not equipped to change nor

18    responsible to the public for its failures.

19          Moreover, the public interest is not served by permitting the unelected class

20    counsel to wield litigation to facilitate this Court’s indefinite supervision of the

21    American immigration system, which involves multiple agencies, hundreds of

22    thousands of class members, and vast taxpayer resources. This Court should end its

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1     superintendence of this aspect of immigration policy and return responsibility for
2     determining and executing immigration policy to the political branches.

3              2. Enforcing the FSA Is Inequitable Because It Prescribes the

4                 Substantive Result of Agency Rulemaking

5           In addition to exceeding a proper judicial role, the FSA impermissibly

6     mandates the substantive results of agency rulemaking. Paragraph 9, which requires

7     the Government to “publish the relevant and substantive terms of this Agreement as

8     a Service regulation,” and Paragraph 40, which provides the termination of the FSA

9     after publishing such regulations, create an obligation that exceeds the Executive

10    Branch’s authority to bind successors.

11          In 2019, the government published regulations to set forth a nationwide policy

12    addressing the custody and care of children in immigration custody. See 2019 Rule,

13    84 Fed. Reg. 44,392. This was performed consistently with the government’s

14    understanding that the FSA required it to engage in a rulemaking process regarding

15    the treatment of detained minors—but not that the FSA required any foreordained

16    result. ECF No. 639 at 26, 46–51.

17          This Court disagreed. It interpreted Paragraphs 9 and 40 of the FSA to mean

18    that the final regulations must match exactly the substantive terms of the FSA—as

19    well as this Court’s subsequent interpretation of those terms. See Flores, 407 F.

20    Supp. 3d at 925 (“Since ‘[c]onditions subsequent are not favored by the law, and are

21    construed strictly,’ and the New Regulations do not codify numerous relevant and

22    substantive terms of the Flores Agreement, the Flores Agreement remains fully

23    intact.” (alteration in original) (quoting 17A C.J.S. Contracts § 451 (2019))). As
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1     interpreted by this Court in 2019, the FSA requires any future Executive Branch
2     officials to adopt the specific policies in the FSA that were agreed to by the Clinton

3     Administration over 25 years ago. Even more concerning, this Court suggested in

4     2024 that the FSA could continue to bind agencies’ policy choices forever, even

5     after the publication of consistent regulations and the Agreement’s termination. Id.

6     (“The Court’s termination of the FSA as to HHS is therefore conditional on there

7     not being a recission of those regulations, such as the Foundational Rule, in a manner

8     inconsistent with the FSA.”) (emphasis added). Consequently, if voters express a

9     preference for an alternative, they are without recourse. Voters’ preferences and the

10    sovereign interests of the Executive are irrelevant. That is no way to run a

11    democracy.

12          Despite HHS’s publication of regulations implementing the FSA, this Court

13    retained jurisdiction “to modify the Agreement or this Order should further changed

14    circumstances necessitate, to ensure that the Rule faithfully implements the FSA as

15    the parties originally contemplated.” Id. Thus, this Court interpreted the FSA to

16    require the government to engage in rulemaking with a preordained result, and to

17    bind the government to that result in perpetuity.

18          Requiring the agencies to adopt a substantive policy through rulemaking when

19    the agency has legitimate policymaking discretion to make other policy choices

20    exceeds the judicial role. “[C]ourts cannot invade the jurisdiction of the other

21    departments of government in matters of policy, and for a court to substitute its

22    judgment or discretion for that of a member of the executive branch of government

23    would amount to such an invasion.” Huntt v. Gov’t of Virgin Islands, 382 F.2d 38,
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1     45 (3d Cir. 1967). As a general matter, courts considering whether to ratify consent
2     decrees have been careful to emphasize that a permissible decree does not mandate

3     the substantive result of any subsequent rulemaking. See Housatonic River Initiative

4     v. EPA, 75 F.4th 248, 267–68 (1st Cir. 2023) (“Importantly, as the Petitioners

5     concede, the Settlement did not legally constrain the EPA in deciding what

6     provisions to include in the final permit.”); Citizens for a Better Env’t v. Gorsuch,

7     718 F.2d 1117, 1121, 1129 (D.C. Cir. 1983) (holding that a consent decree was

8     permissible when it “did not specify the substantive result of any regulations EPA

9     was to propose” and did not “prescribe the content of the regulations”). Under its

10    interpretation of the FSA, this Court has forced the agencies to adopt a specific

11    substantive rule or else forever be subject to this Court’s jurisdiction and

12    management. This Court, however, has no authority to exercise such control.

13          Mandating the substantive result of rulemaking through a settlement also

14    violates the APA, which renders prospective application of the FSA inequitable and

15    contrary to the public interest. Section 4 of the APA, 5 U.S.C. § 553, prescribes a

16    three-step procedure for “notice-and-comment rulemaking.” First, the agency must

17    issue a “[g]eneral notice of proposed rule making.” Id. § 553(b). Second, after the

18    required notice, the agency must “give interested persons an opportunity to

19    participate in the rule making through submission of written data, views, or

20    arguments.” Id. § 553(c). “An agency must consider and respond to significant

21    comments received during the period for public comment.” Perez v. Mortg. Bankers

22    Ass’n, 575 U.S. 92, 96 (2015); see Dep’t of Com. v. New York, 588 U.S. 752, 773

23    (2019) (agencies “examine[] ‘the relevant data’ and articulate[] ‘a satisfactory
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1     explanation’ for [the] decision, ‘including a rational connection between the facts
2     found and the choice made’” (citation omitted). Third, when promulgating the final

3     rule, the agency must include in the rule’s text “a concise general statement of [its]

4     basis and purpose.” 5 U.S.C. § 553(c).

5           “The process of notice and comment rule-making is not to be an empty

6     charade.” Conn. Light & Power Co. v. Nuclear Regul. Comm’n, 673 F.2d 525, 528

7     (D.C. Cir. 1982). Interested parties must have the opportunity “to participate in a

8     meaningful way in the discussion and final formulation of rules.” Id. Therefore, APA

9     rulemaking does not permit a contractual agreement to preordain any specific

10    outcome. Indeed, “a binding promise to promulgate [final regulations] in the

11    proposed form would seem to defeat Congress’s evident intention that agencies

12    proceeding by informal rulemaking should maintain minds open to whatever insights

13    the comments produced by notice under § 553 may generate.” NRDC v. EPA, 859

14    F.2d 156, 194 (D.C. Cir. 1988).

15          Likewise, the Ninth Circuit has held that a court must not enter or enforce a

16    consent decree that would require an agency to violate “procedural requirements”

17    for rulemaking set by statute. Conservation Nw., 715 F.3d at 1186. In Conservation

18    Northwest, the Ninth Circuit considered “whether a district court may approve

19    resolution of litigation involving a federal agency through a consent decree, which

20    substantially and permanently amends regulations that the agency could only

21    otherwise amend by complying with statutory rulemaking procedures.” Id. at 1183.

22    The Ninth Circuit held that the district court had abused its discretion by approving

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1     that kind of consent decree, which “impermissibly conflicts with laws governing the
2     process for such amendments” to the regulations. Id. at 1189.

3           Here, as interpreted by this Court, the FSA requires the agencies to close their

4     eyes to alternatives and to adopt the provisions of the FSA in the final rule without

5     regard to any comments received, changed circumstances since 1997, or new policy

6     insights. See FSA ¶ 9 (“The final regulations shall not be inconsistent with the terms

7     of this Agreement.”). If the government were to engage in rulemaking while

8     irrevocably committed to those specific terms, the final rule would be subject to

9     challenge for failing to comply with the APA’s rulemaking process. Thus, the FSA

10    is improper because it “impermissibly conflicts with laws governing the process” for

11    rulemaking. Conservation Nw., 715 F.3d at 1189. The Executive officials did not

12    have the authority to agree to the FSA as so interpreted, see Carpenter, 526 F.3d at

13    1242, and consequently this Court does not have the authority to enforce the FSA

14    prospectively, see Conservation Nw., 715 F.3d at 1185.

15          The judicial involvement in this case has been excessive and has continued

16    for too many years. Therefore, prospective application of the FSA is not equitable.

17    This Court should grant this request for relief under Rule 60(b)(5) and terminate the

18    FSA. In the alternative, this Court should grant relief from judgment under Rule

19    60(b)(6) because this case presents the kind of “extraordinary circumstances” that

20    cause injustice to the parties and risk “undermining the public’s confidence in the

21    judicial process.” Buck, 580 U.S. at 123.

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            B. Termination of the Consent Decree Is Warranted Due to Changes in
1              Factual and Legal Circumstances
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            The Executive Branch and its agencies must respond to changes in
3
      immigration trends and foreign relations to effectively administer and enforce the
4
      immigration laws. But the FSA prevents the Executive from exercising this
5
      authority. Refusing to terminate the FSA despite the changes in immigration
6
      priorities and migration influxes “insulate[s] the policies embedded in the order . .
7
      . from challenge and amendment” merely because it was written as a consent decree
8
      rather than a regulation. See Horne, 557 U.S. at 453. Dramatic changes in migration
9
      trends, foreign policy, and immigration priorities counsels against continued judicial
10
      enforcement of the FSA. DHS’s 2019 regulations address many of these changes
11
      and fully respect the constitutional and statutory rights of alien minors, and they
12
      should control.
13
            Current immigration policies to limit unlawful entry further justify
14
      termination of the FSA. Immigration policy by definition involves “changing
15
      political and economic circumstances,” making it particularly appropriate for
16
      political maintenance and control. Mathews, 426 U.S. at 81. A “significant change”
17
      in factual circumstances or law “renders continued enforcement of the judgment
18
      detrimental to the public interest.” Horne, 557 U.S. at 453 (citation omitted). And
19
      such significant changes in circumstances are present here.
20
            The number of children crossing or attempting to cross the Southwest border
21
      rose to unprecedented numbers in FY2024, and the FSA hamstrung the government
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1     in addressing this catastrophic illegal migration. 13. In FY2024, the total number of
2     family-unit apprehensions at the Southwest border was 555,578 (Ex. A ¶ 8)—

3     compared to 473,682 in FY2019, when this Court last considered the government’s

4     motion to modify the FSA—a nearly 40% increase in family-unit apprehensions
5     when reported on an annual basis. 14 Likewise, UAC crossings have increased: in

6     FY2023, the total number of UAC apprehensions at the southwest border was

7     131,519, and in FY2024, almost 100,000, compared to 76,020 in FY2019. Ex. A ¶ 8;
8     Ex. H. The surge in border encounters of accompanied and unaccompanied minors

9     undermines the ability of DHS to comply with the FSA. Ex. A ¶¶ 16-18, 32-34.

10          In considering termination of the FSA, the relevant timeline is the change
11    from when the FSA was entered. The border situation is nothing like what it was in

12    1997. In the 1990s, INS encountered 7,000 to 8,000 alien minors each year at the

13    border. Ex. D-1 at 1. Given the stability in alien-minor entries during the 12 years of
14    litigation, the parties reasonably agreed that an “influx” occurred when the INS had

15    more than 130 minors in its custody. FSA ¶ 12A. These numbers demonstrate the

16    stark contrast between the situation today and the situation in 1997, when the FSA
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      13
            The government recognizes that this Court has previously found that these
18    changes in the landscape of immigration are not significant enough, on their own, to
19    warrant termination or amendment of the FSA, ECF Nos. 177, 455. But border
      encounters are constantly evolving, and spikes in encounters that overwhelm the
20    agencies and prevent faithful enforcement of the immigration statutes are important
      changes in circumstances that the Court should consider. Ex. A ¶¶ 7, 8, 14-18.
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      14
             See     CBP,       Southwest      Border       Migration       FY2019,
22    https://www.cbp.gov/newsroom/stats/sw-border-migration/usbp-sw-border-
      apprehensions-fy2019 (updated Nov. 3, 2023) (viewed May 20, 2025), attached as
23    Ex. H.
                                            50
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1     was entered. Nothing in the FSA suggests that the parties anticipated that the
2     government would eventually encounter hundreds of thousands or even tens of

3     thousands of alien minors per year. The antiquated FSA simply does not account for

4     today’s border encounters and need for placements.
5           Mandating continued adherence to the obsolete FSA is particularly

6     inequitable because—as the Ninth Circuit has expressly recognized—the FSA “does

7     not address the potentially complex issues involving the housing of family units and
8     the scope of parental rights for adults apprehended with their children.” Flores, 828

9     F.3d at 906. Nevertheless, even though the FSA never contemplated regulation of

10    accompanied children, this Court has relied upon the FSA to dictate national policy
11    for them for the last decade. Imposing regulations on the custody of children with

12    their parents or legal guardians, while admittedly blind to their distinct needs and

13    interests—and those of their parents and legal guardians—is fundamentally
14    inequitable.

15          Further, the changed conditions of confinement warrant the termination of the

16    FSA, or at the very least the FSA provisions related to custody conditions. In years
17    leading up to the FSA, alien minors detained in INS facilities had “virtually no access

18    to health care or personal counseling[,] no access to formal education . . . [and] little

19    access to attorneys, telephones, or other means to prepare their legal cases.” Michael
20    A. Olivas, Unaccompanied Refugee Children: Detention, Due Process, and

21    Disgrace, 2 Stan. L. & Pol’y Rev. 159, 160 (1990); see generally Compl. The

22    original challenge in this case was to the conditions of UAC confinement—Plaintiffs
23    alleged that their detention violated their due-process right because they: (1) did not
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1     receive any educational materials; (2) did not have access to medical or mental-
2     health care; (3) lacked access to phones and could not communicate with family

3     members or attorneys; (4) received zero recreation time; (5) were denied family

4     visitation; (6) were subject to strip searches; (7) were held with unrelated adults; and
5     (7) could not be released from these conditions unless a parent or legal guardian

6     submitted to an interrogation. See generally Compl. It is undeniable that conditions

7     have drastically improved.
8           Under the HHS’s and DHS’s own policies and regulations, the agencies

9     provide all the relief originally sought in the complaint to the extent permitted by

10    law. Alien minors receive formal education, have routine access to doctors, dentists
11    and psychologists, and have access to regular phone calls to talk to family and

12    attorneys. See 8 C.F.R. § 236.3(i)(4); 45 C.F.R. §§ 410.1302, 410.1307, 410.1309;

13    FRS § 4.3. They have food menus designed by dieticians, access to showers, clean
14    clothing, toys, television, recreation time, and more. See 8 C.F.R. § 236.3(i)(4); 45

15    C.F.R. 410.1302; FRS § 4.1. Strip searches are prohibited, and minors are no longer

16    held with unrelated adults. 8 C.F.R. § 236.3(g); 6 C.F.R. §§ 115.10-95, 115.110-
17    195; TEDS §§ 3.0, 4.0; FRS § 2.6-2.7. As to UACs, HHS releases minors without

18    unnecessary delay to a vetted sponsor—who need not be a parent or legal guardian—

19    so long as release from detention is permitted by statute and does not present a
20    danger to the minor or to others and the minor is not a flight risk. 45 C.F.R. §

21    410.1201. Because the government’s custody regulations and policies now provide

22    the precise relief sought in the original complaint, judicial oversight is no longer
23    equitable. Horne, 557 U.S. at 466.
                                                52
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1           The FSA has thus warped federal policy in a manner that few could defend:
2     even though its terms were admittedly set without ever considering the unique issues

3     presented by accompanied children, it nonetheless has dictated national policy

4     concerning them. It does a profound disservice to those children and their parents
5     and legal guardians to saddle them with policies that were designed without any

6     consideration of their actual needs. Continued application of such unreasoned policy

7     is not remotely equitable.
8           It also does a profound disservice to those who may be harmed by illegal

9     aliens. In January 2025, Congress and President Trump recognized this harm by

10    enacting the Laken Riley Act. The FSA, as amended in 2001, could not have
11    considered such an Act. Now, DHS could be sued because it decides to release an

12    illegal alien subject to mandatory detention. The FSA does not permit DHS the

13    flexibility to ensure compliance with this new statute.
14          As the Supreme Court recognized in Horne, where officials “inherit overbroad

15    or outdated consent decrees that limit their ability to respond to the priorities and

16    concerns of their constituents, they are constrained in their ability to fulfill their
17    duties as democratically-elected officials.” Horne, 557 U.S. at 449. The FSA,

18    however, is an inherently overbroad and outdated consent decree that has

19    constrained subsequent administrations from responding to continuous surges in
20    family-unit apprehensions. Even though the FSA is silent about family detention or

21    release provisions for accompanied minors, this Court has interpreted the FSA to

22    provide the same rights of release to accompanied minors as UACs, even though
23    their parents and guardians were not subjects of the FSA. See supra, section II.B.
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1           As of March, 2025, DHS has re-instituted FRCs, which will house
2     accompanied minors and their accompanying family members, to ensure proper

3     custodial conditions for family units who are subject to detention and to ensure the

4     United States retains its ability to enforce immigration laws. Ex. F ¶ 13. These FRCs
5     are necessary to ensure that DHS can comply with the mandatory-detention

6     authorities, as well as keep families together while they await a decision on their

7     immigration proceeding. Id. ¶¶ 15, 29.
8           The FRCs are also preferable compared to keeping families in CBP custody

9     while they await a decision in their immigration proceedings, as the FRCs have more

10    amenities and are better equipped for longer-term detention. See Ex. A ¶¶ 17, 56
11    (stating that CBP facilities are not designed for long-term care). When FRCs are

12    unavailable, CBP must house families in facilities that are not designed for long-

13    term detention and lack the amenities of FRCs. To avoid detaining family units at
14    CBP facilities during their immigration proceedings—while also allowing the

15    government to comply with the mandatory-detention statutes—this Court should

16    terminate the FSA and permit the previously enjoined DHS regulations to go into
17    effect so that DHS can utilize FRCs.

18          The FSA as interpreted by this Court and the Ninth Circuit would require DHS

19    to present parents and/or legal guardians of accompanied minors with a binary
20    choice to either waive the child’s right to be released under the FSA or waive her

21    parental right and permit her child to be temporarily released to someone else’s care

22    and custody. While holding accompanied children in immigration detention may
23    contravene the FSA, it is consistent with the detention statutes and does not violate
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1     class members’ due process rights or any other federal law. Flores, 507 U.S. at 302,
2     309, 315. Given the reopening of FRCs that are equipped to hold children and

3     families, this change in factual circumstance warrants the termination of the FSA

4     provisions related to release.
5                                        CONCLUSION

6           For the foregoing reasons, Defendants request that this Court terminate the

7     FSA as to all Defendants and dissolve this Court’s injunction of DHS’s regulations
8     for apprehension, processing, care, and custody of alien minors, ECF No. 690.

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                                      ID #:52753


       DATED: May 21, 2025
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                               CERTIFICATE OF SERVICE
1
            I certify that on May 22, 2025, I served a copy of the foregoing pleading on
2
      all counsel of record by means of the District Court’s CM/ECF electronic filing
3     system.
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9

10          I certify that this brief contains 14,883 words. Defendants have filed
11    concurrently with this motion an ex parte application for leave to file an oversized
12    memorandum of points and authorities not to exceed 15,000 words.
13
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